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DOCKETNO. 1657

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BEFORE THE JUDICIAL PANEL ONMULTIDISTRICTLITIGATION

INRE VIOXX PRODUCTS LIABILITY LITIGATION
(SEEATTACHED SCHEDULE)

CONDITIONAL TMNSFER ORDER (CTO-20)

On February 16, 2005, the Panel transferred 138 civil actions to the United States District Court
for the Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant
to 28 U.S.C. § 1407. Since that time, 832 additional actions have been transferred to the Eastern
l)istrict of Louisiana. With the consent ofthat court, all such actions have been assigned to the

llonorable Eldon E. Fallon.

lt appears that the actions on this conditional transfer order involve questions of fact which are
common to the actions previously transferred to the Eastern District of Louisiana and assigned to

Judge Fallon.

Pursuant to Rule 7.4 ofthe Rules of Procedure ofthe Judicial Panel on Multidistrict Litigation,
199 F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the
Eastern District of Louisiana for the reasons stated in the order of February ]6, 2005, 360
F.Supp.Zd l352 (J.P.M.L. 2005), and, with the consent ofthat court, assigned to the Honorablc

Eldon E. Fal[on.

This order does not become effective until it is filed in the Office ofthe Clerk ofthe United
States District Court for the Eastern District of Louisiana. The transmittal ofthis order to said

   

 

 

 

 

  
  

 

 

 

 

 

 

 

 

Clerk shall be stayed fifteen (15) days from the entry thereof and ifany party files a noticesle 3 n
opposition with the Clerl< ofthe Panel Within this fifteen (15 da eriod, the stay Wi]l fef __ -¢ t h §'“'
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continued until further order ofthe Panel. '. _ §§ ;;
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Case 1:05-cv-01160-.]DT-STA Document 12 Filed 08/29/05

NITED STATES DISTRICT COURT
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OFFicE oi= THE CLERK
LoRRETTA G. WHYTE
CLERK

Page 2 of 5 Page|D 9

500 PoYDRAs ST., SUiTE C-151
NEW ORLEANS, LA 70130
August 25, 2005

Robert Di Trolio, Clerk
Uni`ted States District Court

Western District of Tennessee
111 S. Highland
Jackson, TN 38301

ln Re: MDL 1657 Vioxx Products Liability Litigation L (3)

 

Dear Mr. Di Trolio:

Enc]osed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washirigton, D.C. It instructs that the cases listed on the attached page be transferred to our district

for disposition pursuant to Title 28 USC 1407, as soon as possiblel Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified

copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet
and the MDL Transfer Order, together With a copy of the transfer letter be forwarded to the transferor
court.

Due to the high volume of cases involved in this litigation please provide

paper copies of the above documents instead of simply referring to Vour Website.
Your prompt attention in this matter is greatly appreciated

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7704.

Very truly yours,
Loretta G.

B y J ..

Deputy Clerk
Enclosures

cc: Judicial Panel on Multidistrict Litigation

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Case 1:05-cv-01160-.]DT-STA Document 12 Filed 08/29/05 Page 3 of 5 Page|D 10

 

Your Case Nos. Case Title Our Case Nos.
Y)j~l 159 Jen'y Foster, et al v. Merck & Co.. lnc 05-?900 1 §3)\

 

1;05-1`160 remain A Wrigai mt v. Merci< & Co., ina 05-3901Lg3))
1:05-1166 Denny E. West v. Merck & Co., Inc., et al 05-39 L (3)

Case 1:05-cv-01160-.]DT-STA Document 12 Filed 08/29/05 Page 4 of 5 Page|D 11

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
ThOmaS M. GOulCl 11 1 South Highland Ave., Room 262
Clerk OfCOurt Jackson, Tennessee 38301

731-421-9200
731-421-9210 Fax

August 30, 2005

United States District Court
Eastern District of Lousiana
500 Poydras St., Room C-151
New Orleans, LA 70130

RE: Charmian A. Wright vs. Merck & Co., Inc., Et al.,
05-3901 L (3) -Your Case No.
05-1160 T/An »Our Case No.

Dear Clerk:

Pursuant to the Conditional Transfer Order (CTO-Zl) the above referenced case has been transferred to the
United States District Court for the Eastern District of Louisiana . Please find enclosed a certified copy of
the Notice of Removal/Lower Court Complaint, Docket Sheet, MDL Transfer Order, and a copy of the
transfer letter to the transferor court. l arn also enclosing a copy of this cover letter and requesting that you
acknowledge receipt and return it to our office in the provided envelope. Thank you for your attention in
this matter.

Thomas M. Gould, Clerk

BY: CnaaamJ/tatM/U(

Deputy Clerk

ENCLOSURES

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CV-01160 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Charles C. Harrell

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

Meinphis7 TN 38119

.1 ames L. &quot',Larry& Wright
JACKS LAW FIRM

111 Congress Ave.

Ste. 1010

Austin7 TX 78701

.1 udy Barnhill

Criniinal Justice Coniplex
515 S. Liberty St.
Jackson, TN 38301

Steven G. Ohrvall

H[LL BOREN- .1 ackson
1269 N. Highland Ave.
P.O. Box 3539

Jackson, TN 38303--353

Honorable .1 ames Todd
US DISTRICT COURT

